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Case 1:08-cv-00401-JTN ECF No. 116-1 filed 10/12/10 PagelD.610 Page 2 of 4

COURT ORDERED FACILITATION

CHERYL LEWIS HARRIS, Per. Rep of
the Estate of Dorothy Mae Lewis, Deceased,

Plaintiff,

VS. Case No: 08-]13833-NI

LONDON CARRIERS, INC. FIRST CHOICE
CARRIER, LARRY T. SHAW, PERCY SHAW,
And ESTATE OF BRODERICK GREEN, DECEASED,

Defendants.

and

PERCY SHAW, individually, PERCY SHAW and
GENEVA DAVIS, Co-Per. Reps. of the Estate

of Porsha Shaw, Deceased, and ANGELA

SMITH, Per. Rep. of the Estate of Broderick Green,

Deceased.
Plaintiffs, Case No: 1:08-CV-40]

VS.

LONDON CARRIERS, INC. FIRST CHOICE
CARRIER, LARRY T. SHAW,

Defendants.

 

FACILITATION AGREEMENT
A facilitation hearing having been conducted on July 23, 2010
and the parties to these actions, along with their legal counsel, having reached a mutually
agreeable resolution of all claims presently pending in the court, and the parties wishing

to confirm the terms and conditions of the negotiated settlement in writing;
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It is hereby agreed between the Estates of the three plaintiffs and defendants that
the following accurately sets forth the entire terms and conditions of a settlement of all
claims put forward in the above-captioned matter:

IT IS AGREED THAT plaintiffs shall receive the full sum of $2,000,000.00
Canadian in ful! and fina] settlement of all claims asserted against London Carrier, Inc.,
First Choice Carriers, Larry T. Shaw in the above-referenced matters. Each Estate shall
receive one-third (1/3) of the settlement amount.

ITIS FURTHER AGREED THAT any claim filed on behalf of Percy Shaw, or
against Percy Shaw, shall be resolved through the entry of an order of dismissal with
prejudice with the court and the claim against the Estate of Broderick Green and Estate of
Porsha Shaw shall also be resolved through the entry of an order of dismissal] with
prejudice.

ITIS FURTIJER AGREED THAT counsel for the parties shall stipulate to the
entry of an order of dismissal with prejudice as to al] claims and cross-claims against
First Choice Carrier and London Carrier, Inc. and Larry Shaw.

ITIS FURTHER AGREED THAT this settlement is contingent upon the parties
obtaining applicable court approval of this settlement and al] Personal Representatives
shall sign all necessary releases as determined by defense counsel. The parties agree that
the releases to be signed shal] contain a non-disclosure/confidentiality provision
regarding the terms and amount of this settlement.

ITIS FURTHER AGREED that the plaintiffs may structure all or a part of the

settlement proceeds with a structure settlement company of their choice.

to
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Plaintiffst. of Dorothy Mae Lewis Insurance Rep- Se Carrier/Shaw
fo Zuea&
Plaintiff-Est. of Porsha Shaw Attor ney for Defs-] on CaPig?Sh

 

Pian EA of Porsha Shaw Attorney for Def-First Choice

Insurance Rep-First Choice

 

 

 

 

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9-Est: of Green ~~

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Dated: July 23, 2010

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